Filed 06/03/16                                                         Case 16-23655                                                                        Doc 1

  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                      Chapter       7
                                                                                                                            � Check if this an
                                                                                                                                amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            4/16
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
 For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


  1.   Debtor's name                Colusa Regional Medical Center

  2.   All other names debtor       DBA     Women's Health Center
       used in the last 8 years
                                    DBA     Colusa Medical Clinic
       Include any assumed          DBA     Williams Family Health Center
       names, trade names and       DBA     Arbuckle Medical Office
       doing business as names

  3.   Debtor's federal
       Employer Identification      XX-XXXXXXX
       Number (EIN)


  4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                    business

                                    199 E. Webster Street
                                    Colusa, CA 95932
                                    Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                    Colusa                                                          Location of principal assets, if different from principal
                                    County                                                          place of business

                                                                                                    Number, Street, City, State & ZIP Code


  5.   Debtor's website (URL)       www.colusamedicalcenter.org


  6.   Type of debtor               �   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                    � Partnership (excluding LLP)
                                    � Other. Specify:




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  Debtor    Colusa Regional Medical Center                                                            Case number (if known)
            Name



  7.   Describe debtor's business        A. Check one:
                                         �   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         �   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         �   Railroad (as defined in 11 U.S.C. § 101(44))
                                         �   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         �   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         �   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         �   None of the above

                                         B. Check all that apply
                                         � Tax-exempt entity (as described in 26 U.S.C. §501)
                                         � Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         � Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  6221

  8.   Under which chapter of the        Check one:
       Bankruptcy Code is the
       debtor filing?                    �   Chapter 7
                                         � Chapter 9
                                         � Chapter 11. Check all that apply:
                                                          � Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              � The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                   business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                   statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                   procedure in 11 U.S.C. § 1116(1)(B).
                                                              � A plan is being filed with this petition.
                                                              � Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                              � The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                              � The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         � Chapter 12


  9.   Were prior bankruptcy             � No.
       cases filed by or against
       the debtor within the last 8      � Yes.
       years?
       If more than 2 cases, attach a
       separate list.                              District                                 When                               Case number
                                                   District                                 When                               Case number


  10. Are any bankruptcy cases
      pending or being filed by a
                                         � No
      business partner or an             � Yes.
      affiliate of the debtor?
       List all cases. If more than 1,
       attach a separate list                      Debtor                                                                  Relationship
                                                   District                                 When                           Case number, if known




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  Debtor   Colusa Regional Medical Center                                                          Case number (if known)
           Name



  11. Why is the case filed in    Check all that apply:
      this district?
                                  �      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                  �      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

  12. Does the debtor own or
      have possession of any
                                  � No
      real property or personal   � Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property that needs
      immediate attention?                  Why does the property need immediate attention? (Check all that apply.)
                                            � It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                            � It needs to be physically secured or protected from the weather.
                                            � It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            � Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                            � No
                                            � Yes. Insurance agency
                                                          Contact name
                                                          Phone



           Statistical and administrative information

  13. Debtor's estimation of      .       Check one:
      available funds
                                          � Funds will be available for distribution to unsecured creditors.
                                          � After any administrative expenses are paid, no funds will be available to unsecured creditors.

  14. Estimated number of         � 1-49                                          � 1,000-5,000                              � 25,001-50,000
      creditors                   � 50-99                                         � 5001-10,000                              � 50,001-100,000
                                  � 100-199                                       � 10,001-25,000                            � More than100,000
                                  � 200-999

  15. Estimated Assets            � $0 - $50,000                                  � $1,000,001 - $10 million                 � $500,000,001 - $1 billion
                                  � $50,001 - $100,000                            � $10,000,001 - $50 million                � $1,000,000,001 - $10 billion
                                  � $100,001 - $500,000                           � $50,000,001 - $100 million               � $10,000,000,001 - $50 billion
                                  � $500,001 - $1 million                         � $100,000,001 - $500 million              � More than $50 billion

  16. Estimated liabilities       � $0 - $50,000                                  � $1,000,001 - $10 million                 � $500,000,001 - $1 billion
                                  � $50,001 - $100,000                            � $10,000,001 - $50 million                � $1,000,000,001 - $10 billion
                                  � $100,001 - $500,000                           � $50,000,001 - $100 million               � $10,000,000,001 - $50 billion
                                  � $500,001 - $1 million                         � $100,000,001 - $500 million              � More than $50 billion




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    Debtor     Colusa Regional Medical Center                                                                     Case number (knOwfl)
               Name



               Request for Relief, Declaration, and Signatures

    WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500.000 or
              imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

    17. Declaration and signature
        of authorized                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
        representative of debtor
                                       I have been authorized to file this petition on behalf of the debtor.

                                       I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct.

                                      Executed on          _________   Rp
                                                        MM/DD/WYY


                                  X      L_’L-łLe_’                                                                     Wayne C. Allen
                                      Signature of a1horized representative of debtor                                   Printed name

                                            Chief Restructuring Officer, Interim
                                      Title Chief Executive Officer




    18. Signature of attorney     X
                                                                 debtor
                                                                                                                         Date            6J./i
                                                                                                                                MM / DD I YYYY

                                      Henry C. Kevane
                                      Printed name

                                      Pachulski Stang Ziehl & Jones LLP
                                      Firm name

                                      150 California Street
                                      San Francisco, CA 94111-4500
                                      Number, Street, City, State & ZIP Code


                                      Contact phone 415-263-7000                        Email address               hkevanepszjIaw.com

                                      CA 125757
                                      Bar number and State
                                                                                            hkevane@pszjlaw.com




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